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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA

 v.

 MARCELINO BERUMEN (04)                               Case No. 6:20-CR-97
 SHY ANNE ROGERS (05)                                 JUDGES JCB/JDL
 JOHN ERIC RETIZ (06)
 DUSTY RAQUEL DUDLEY (07)
 CHRISTOPHER DALE CROMWELL (08)
 GLORIA ELIZABETH AGUILAR (09)


      PROTECTIVE ORDER AS TO DISCOVERY DISCLOSED TO DEFENSE

       Having considered the Government’s Motion for Protective Order as to Discovery

Disclosed to the Defense, the Court orders as follows:

       1.      The Court finds that the government intends to provide sensitive and

confidential information to the Defense Counsel in this case, and that the information

contains sensitive and private personal identification information for a number of

individuals who are either co-defendants or not defendants in this case, including names,

addresses, social security numbers, and birthdates. Additional materials provided

contain information related to source information that could permit someone to learn the

identity of other government witnesses, including confidential informants, which may

jeopardize their safety. Other materials contain information regarding ongoing

investigations that could be significantly compromised should those facts be disclosed

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without restrictions. In light of this, the government has filed a motion asking the Court

to issue a protective order that would allow for the limited disclosure of this type of

information to Defense Counsel and other individuals on a limited basis, as set forth in

the motion. All material disclosed by the government in this case to Defense Counsel

falls within the scope of this order and is referred to below as “Protected Discovery

Material”;

       2.      Defense Counsel shall maintain the Protected Discovery Material in

accordance with the terms of the Protective Order and shall use the Protected Discovery

Material solely and exclusively in connection with this case (including trial preparation,

trial, and appeals or other related legal proceedings) and for no other purposes;

       3.      The following terms govern the handling and maintenance of the Protected

Discovery Material in this case:

               a.      Defense Counsel shall maintain the Protected Discovery Material in

       accordance with the terms of the Protective Order and shall use the Protected

       Discovery Material solely and exclusively in connection with this case (including

       trial preparation, trial, appeal, or other related legal proceedings) and for no other

       purposes;

               b.      Only the following individuals may access and view the Protected

       Discovery Material: (i) Defense Counsel; (ii) the Defendants, for the sole purpose

       of assisting in the preparation of his defense and only in the presence and under


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       the direct supervision of Defense Counsel; (iii) such members of Defense

       Counsel's staff as are necessary for the purposes outlined above and only while

       these staff members are operating under the direct supervision and control of

       Defense Counsel; and (iv) any expert or investigator hired to assist Defense

       Counsel for the purpose of defendant the pending charges against defendant.

               c.      Defense Counsel may print, copy, or duplicate the Protected

       Discovery Material only if the printed items, copies, and/or duplicates are kept

       under the same control as the original Protected Discovery Material. Defendants

       may not print, copy, or duplicate the Protected Discovery Material;

               e.      Defense Counsel will keep a copy of the Protective Order with the

       Protected Discovery Material at all times and provide a copy to any staff member,

       expert, or investigator assisting Defense Counsel in the case;

               f.      Upon termination of this matter, Defense Counsel is permitted to

       retain a copy of the Protected Discovery Material, but this retention is subject to

       the terms and restrictions of this Protective Order.


             So ORDERED and SIGNED this 20th day of January, 2021.




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